Case 1:13-cv-23429-AOR Document 111 Entered on FLSD Docket 10/20/2014 Page 1 of 2
                                                                 CASE NO. 13-cv-23429- OTAZO-REYES


                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                              CASE NO. 13-cv-23429- OTAZO-REYES
  MITCHELL ROSARIO,

         Plaintiff,
  vs.

  12425, INC., a Florida for-profit corporation
  d/b/a STIR CRAZY, LAURA INSUA,
  MANUEL INSUA, and HERIBERTO FLOREZ,

         Defendants.
                                                        /

                      NOTICE OF FILING OBJECTIONS TO
        TRIAL WITNESS CESAR ALTIERI SAYOC DEPOSITION DESIGNATIONS

         The Plaintiff and Defendants file this Notice of Filing Objections to Trial Witness Cesar

  Altieri Sayoc Deposition Designations, and say:

         Attached hereto as Exhibit 1 are the Plaintiff and Defendants’ objections to the deposition

  designation for the trial witness Cesar Altieri Sayoc. Attached hereto as Exhibit 2 is the deposition

  transcript of Cesar Altieri Sayoc with the Plaintiff’s designated testimony highlighted in yellow and

  the Defendants’ designated testimony highlighted in orange.

                                      CERTIFICATE OF SERVICE

         I hereby certify that on October 20, 2014, I electronically filed the foregoing document

  with the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being

  served this day on all counsel of record or pro se parties identified on the attached Service List in

  the manner specified, either via transmission of Notices of Electronic Filing generated by

  CM/ECF or in some other authorized manner for those counsel or parties who are not authorized

  to receive electronically Notices of Electronic Filing.




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Case 1:13-cv-23429-AOR Document 111 Entered on FLSD Docket 10/20/2014 Page 2 of 2
                                                     CASE NO. 13-cv-23429- OTAZO-REYES


                                             Respectfully submitted,


  s/ Samara Robbins Bober                   /s David M. McDonald
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